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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:04CR337
                                            )
                      Plaintiff,            )
                                            )
      vs.                                   )                  JUDGMENT
                                            )
                                            )
TAMARA SHEFFIELD,                           )
                                            )
                      Defendant.            )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motions Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Filing Nos. 158, 160);

      2.     Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motions, and the motions (Filing Nos. 158, 160) are summarily denied; and

      3.     The Clerk is directed to mail a copy of this Judgment to the Defendant at her

last known address.

      DATED this 6th day of March, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
